Case 3:21-cv-01674-MO   Document 60-1   Filed 12/01/22   Page 1 of 11




              APPENDIX A
             Case 3:21-cv-01674-MO              Document 60-1          Filed 12/01/22        Page 2 of 11


No Shepard’s Signal™
As of: November 28, 2022 9:50 PM Z


                                           Jackson v. Airbnb, Inc.
                            United States District Court for the Central District of California
                                 November 4, 2022, Decided; November 4, 2022, Filed
                                                 CV 22-3084 DSF (JCx)

Reporter
2022 U.S. Dist. LEXIS 202765 *

SALOMES MONIK RENGIFO JACKSON, et al.,
Plaintiffs, v. AIRBNB, INC., a Delaware Corporation;           Opinion
SNAP, INC., a Delaware corporation, etc., et al.,
Defendants.                                                    ORDER GRANTING AIRBNB, INC.'S MOTION TO
                                                               COMPEL ARBITRATION AND STAY PROCEEDINGS
Core Terms                                                     AND GRANTING MOTION TO DISMISS (Dkt. 22)

Airbnb, arbitration, arbitration agreement, foreseeable,       Airbnb Inc. moves to compel arbitration of Catherine
subject property, allegations, quotation, courts, marks,       Jackson's claims and to dismiss the claims [*2] of
special relationship, parties, documents, platform,            Salomes Monik Rengifo Jackson and Jonathan Antistian
product liability, judicial notice, third party, compel        Rengifo Jackson, as Co-Personal Representatives of
arbitration, district court, delegates, argues, Host, matter   the Estate of Giselle Antistiana Jackson Rengifo, and
of public record, right to arbitration, amended complaint,     Antistenes Rengifo Estupinan.
motion to dismiss, questions, teenagers, disputes,
                                                               For the reasons state below, Airbnb's motion to stay and
driving, rental
                                                               compel Ms. Jackson to arbitrate is GRANTED. Airbnb's
                                                               motion to dismiss the claims by the remaining Plaintiffs
Counsel: [*1] For Salomes Monik Rengifo Jackson,
                                                               is GRANTED.
Co-Personal Representatives of the Estate of Giselle
Antistiana Jackson Rengifo |, Jonathan Antistian
Rengifo Jackson, Co-Personal Representatives of the
                                                               I. Background
Estate of Giselle Antistiana Jackson Rengifo |,
Catherine Jackson, individually |, Antistenes Rengifo          On May 18, 2020, seventeen-year-old Michael
Estupinan, individually |, Plaintiffs: Frank J. Polek, LEAD    McGowan shot and killed seventeen-year-old Giselle
ATTORNEY, Polek Law, San Diego, CA USA.                        Jackson Rengifo (Decedent) at 2721 Southwest 20th
For Airbnb, Inc., a Delaware Corporation |, Defendant:         Street, Miami-Dade County, Florida (subject property).
Damali A Taylor, LEAD ATTORNEY, O'Melveny and                  Dkt 1-1 (Compl.) ¶ 9. The gun used was bought on
Myers LLP, San Francisco, CA USA; Dawn Sestito,                Snapchat, a SNAP, Inc. platform, and the subject
Jennifer Dawson Cardelus, O'Melveny and Myers LLP,             property was an Airbnb rental property. Id. Both Mr.
Los Angeles, CA USA.                                           McGowan and Decedent had been at the subject
                                                               property for "several days" prior, "openly engaging in
For Snap, Inc., a Delaware corporation, d/b/a in
                                                               criminal activity," "partying," drinking, doing drugs, and
California as Snapchat, Inc. | doing business as |
                                                               "maintaining weapons." ¶ 10.
Snapchat, Inc. |, Defendant: Albert Q Giang, King and
Spalding LLP, Los Angeles, CA USA; Amy R. Upshaw,
PRO HAC VICE, King and Spalding LLP, Washington,
                                                               II. Legal Standard
DC USA; Lennette W Lee, King and Spalding, Los
Angeles, CA USA.
                                                               A. Arbitration
Judges: Dale S. Fischer, United States District Judge.
                                                               "[T]he Federal Arbitration Act (FAA) makes agreements
Opinion by: Dale S. Fischer
                                                               to arbitrate 'valid, irrevocable, and enforceable, save
             Case 3:21-cv-01674-MO             Document 60-1          Filed 12/01/22       Page 3 of 11
                                                                                                         Page 2 of 10
                                          2022 U.S. Dist. LEXIS 202765, *2

upon such grounds as exist at law or in equity for the
revocation of any contract.'" AT&T Mobility LLC v.            III. Discussion
Concepcion, 563 U.S. 333, 336, 131 S. Ct. 1740, 179 L.
Ed. 2d 742 (2011) (quoting 9 U.S.C. § 2). "By its terms,
the [FAA] leaves no place for the exercise of                 A. Request for Judicial Notice
discretion [*3] by a district court, but instead mandates
that district courts shall direct the parties to proceed to   Plaintiffs request that the Court take judicial notice of
arbitration on issues as to which an arbitration              five documents:
agreement has been signed." Dean Witter Reynolds,                  1. A public record [of] the City of Miami Police
Inc. v. Byrd, 470 U.S. 213, 218, 105 S. Ct. 1238, 84 L.            Department Calls for Service for the subject Airbnb
Ed. 2d 158 (1985). "The FAA provides for stays of                  property located at: 2721 Southwest 20th Street,
proceedings in federal district courts when an issue in            Miami-Dade County, Florida for the time period of
the proceeding is referable to arbitration, and for orders         6/1/2017-9/15/22. . . .
compelling arbitration when one party has failed or                2. The Rental Agreement between O.M. Property
refused to comply with an arbitration agreement." EEOC             Management, the property owner of the subject
v. Waffle House, Inc., 534 U.S. 279, 289, 122 S. Ct.               property and tenant Kip Matthew Desormeaux . . .
754, 151 L. Ed. 2d 755 (2002) (citing 9 U.S.C. §§ 3, 4).           3. A copy of Defendant Airbnb's Global Party Ban
The burden to prove that a matter should not be stayed             prohibiting parties on Airbnb property listings
and referred to arbitration is on the party opposing               obtained from: https://news.airbnb.com/airbnb-
arbitration. Green Tree Fin. Corp. Alabama v. Randolph,            announcesglobal-party-ban/. . . .
531 U.S. 79, 91, 121 S. Ct. 513, 148 L. Ed. 2d 373
                                                                   4. A Copy of Defendant Airbnb's Responsible
(2000) ("the party resisting arbitration bears the burden
                                                                   Hosting        in      the       United     States:
of proving that the claims at issue are unsuitable for
                                                                   https://www.airbnb.com/help/article/1376/responsibl
arbitration"). The FAA "establishes that, as a matter of
                                                                   e-hosting-in-the-united-states [*5] . . .
federal law, any doubts concerning the scope of
                                                                   5. Miami-Dade County Emergency Order 09-20
arbitrable issues should be resolved in favor of
                                                                   entered on March 21, 2020, prohibiting any new
arbitration, whether the problem at hand is the
                                                                   bookings for short term vacation rentals to non-
construction of the contract language itself or an
                                                                   essential workers that was in effect at the time of
allegation of waiver [or] delay." Mitsubishi Motors Corp.
                                                                   the incident.
v. Soler Chrysler-Plymouth, 473 U.S. 614, 626, 105 S.
                                                              Dkt. 28-1 (RJN) at 1-2. Airbnb opposes the request. Dkt.
Ct. 3346, 87 L. Ed. 2d 444 (1985).
                                                              31-1.

                                                              The Court takes notice of documents one and five but
B. Motion to Dismiss
                                                              declines to take notice of the other documents. Fed. R.
Federal Rule of Civil Procedure 12(b)(6) allows an            Evid. 201(b) allows courts to judicially notice
attack on the pleadings for failure to state a claim on       adjudicative facts if they are "not subject to reasonable
which relief can be granted. "[W]hen ruling on a              dispute." These documents here clearly are part of the
defendant's motion to dismiss, a judge must accept as         Plaintiffs' response to the motion to dismiss section of
true all of the factual allegations contained in the [*4]     Airbnb's motion. When "the legal sufficiency of a
complaint." Erickson v. Pardus, 551 U.S. 89, 94, 127 S.       complaint's allegations is tested by a motion under Rule
Ct. 2197, 167 L. Ed. 2d 1081 (2007). However, a               12(b)(6), review is limited to the complaint." Lee v. City
complaint must "state a claim to relief that is plausible     of Los Angeles, 250 F.3d 668, 688 (9th Cir. 2001)
on its face." Bell Atlantic Corp. v. Twombly, 550 U.S.        (internal citation omitted). There are two exceptions.
544, 570, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007).          "First, a court may consider material which is properly
This means that the complaint must plead "factual             submitted as part of the complaint . . . . If the documents
content that allows the court to draw the reasonable          are not physically attached to the complaint, they may
inference that the defendant is liable for the misconduct     be considered if the documents' authenticity is not
alleged." Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct.    contested and the plaintiff's complaint necessarily relies
1937, 173 L. Ed. 2d 868 (2009). "The plausibility             on them." Id. (internal quotation marks omitted). The
standard is not akin to a 'probability requirement,' but it   second type of extrinsic evidence a court may consider
asks for more than a sheer possibility that a defendant       on a 12(b)(6) motion is "matters of public [*6] record."
has acted unlawfully." Id.                                    Id. at 689.
              Case 3:21-cv-01674-MO                Document 60-1           Filed 12/01/22         Page 4 of 11
                                                                                                                Page 3 of 10
                                              2022 U.S. Dist. LEXIS 202765, *6

The Court finds that documents one (records of 911                 The Court finds Ms. Jackson's arguments unpersuasive.
calls about the subject property) and five (Miami-Dade
County Emergency Order 09-20) are matters of public                Where an arbitration agreement clearly delegates the
record and judicial notice is proper. Disabled Rights              question of arbitrability to the arbitrator there is no
Action Comm. v. Las Vegas Events, Inc., 375 F.3d 861,              exception that allows the Court to address questions of
866 n.1 (9th Cir. 2004) (finding that because a university         arbitrability. The Supreme Court made this abundantly
was a state entity, its licensing records were a matter of         clear in Henry Schein, Inc. v. Archer & White Sales, Inc.,
public record and the court "may take judicial notice of           139 S. Ct. 524, 527, 202 L. Ed. 2d 480 (2019). Prior to
the records of state agencies and other undisputed                 that decision, some courts used a "wholly groundless"
matters of public record").                                        exception "to block frivolous attempts to transfer
                                                                   disputes from the court system to arbitration." Id. at 529.
The two Airbnb website links and the leasing contract,             But the Supreme Court found that where arbitrability is
however, are not matters of public record and are not              delegated to an arbitrator, federal courts cannot "short-
necessarily relied on by the complaint. The complaint              circuit the process and decide the arbitrability question
does not refer to these three documents-even implicitly.           themselves" even "if the argument that the arbitration
"Plaintiffs cannot utilize [ ] documents to amend the              agreement applies to the particular dispute is 'wholly
complaint and defeat defendants' motions to dismiss."              groundless.'" Id. at 527-28. Rather "[w]hen the parties'
Okla. Firefighters Pension & Ret. Sys. v. Ixia, 50 F.              contract delegates the arbitrability question to an
Supp. 3d 1328, 1350 (C.D. Cal. Oct. 6, 2014) (declining            arbitrator, [*8] the courts must respect the parties'
to take judicial notice); see also Carillo v. Citimortgage,        decision as embodied in the contract." Id. "To be sure,
Inc., No. CV 09-02404 AHM (CWx), 2009 U.S. Dist.                   before referring a dispute to an arbitrator, the court
LEXIS 96667, 2009 WL 3233534, at *3 (C.D. Cal. Sept.               determines whether a valid arbitration agreement exists.
30, 2009) ("The Court will not take judicial notice of             But if a valid agreement exists, and if the agreement
Plaintiffs' exhibits, because the contents of the exhibits         delegates the arbitrability issue to an arbitrator, a court
are not alleged in the complaint and the complaint does            may not decide the arbitrability issue." Id. at 530 (citing
not appear to necessarily rely on them.").                         9 U. S. C. § 2).

                                                                   Here a valid arbitration agreement exits. Ms. Jackson
B. Arbitration                                                     has not made any arguments that this arbitration
                                                                   agreement is an invalid contract. See AT&T Mobility
Airbnb moves to compel Catherine Jackson (Ms.                      LLC, 563 U.S. at 339 (FAA "permits arbitration
Jackson), the Decedent's mother, to arbitrate her                  agreements to be declared unenforceable upon such
claims. Airbnb argues that there is a valid and                    grounds as exist at law or in equity for the revocation of
enforceable arbitration agreement [*7] that requires the           any contract") (internal quotation marks omitted). The
question of arbitrability itself to be arbitrated. Ms.             only thing Ms. Jackson disputes is that Airbnb does not
Jackson counters that staying the case and compelling              specify which valid agreement applies. This argument
arbitration is inappropriate because this dispute is not           holds no weight. Ms. Jackson signed up for Airbnb and
within the scope of the Airbnb Terms of Service (TOS)              signed a TOS with Airbnb on September 24, 2019
she signed, Airbnb waived the right to arbitrate, and it is        (v.10). Opp'n at 2. On July 28, 2021, Ms. Jackson
not in the interest of judicial economy to stay the case.1         agreed to an updated Airbnb TOS (v.11). Id. at 1. Ms.
                                                                   Jackson signed this updated agreement after her
                                                                   daughter's death on May 18, 2020, but before this
1 Beneath    the surface of the parties' briefings is a            lawsuit—which she filed on May 5, 2022. Id.; Compl. at
disagreement about what law should apply. Airbnb primarily         18. Ms. Jackson argues that Airbnb's [*9] motion to
relies on federal law, while Ms. Jackson's opposition cites only   compel should be denied because it failed "to allege
one federal case, but cites several California state cases and     which arbitration agreement was enforceable at the time
a section of the California Civil Procedure Code. Compare          of the subject incident." Opp'n at 2. The Court need not
Mot. at 4-8 with Opp'n at 1-6. To be clear, the Federal            resolve which arbitration agreement applies. As pointed
Arbitration Act (FAA) pre-empts any state law governing            out by Airbnb, v.10 and v.11 contain exactly the same
arbitration. Viking River Cruises, Inc. v. Moriana, 142 S. Ct.     provision binding the parties to an arbitration agreement
1906, 1917-18, 213 L. Ed. 2d 179 (2022); AT&T Mobility LLC,
                                                                   and delegating questions of arbitrability to the arbitrator.
563 U.S. at 343 ("Although § 2's saving clause preserves
generally applicable contract defenses, nothing in it suggests
an intent to preserve state-law rules that stand as an obstacle    to the accomplishment of the FAA's objectives").
             Case 3:21-cv-01674-MO              Document 60-1           Filed 12/01/22         Page 5 of 11
                                                                                                              Page 4 of 10
                                           2022 U.S. Dist. LEXIS 202765, *9

Dkt. 31 (Reply) at 2 (citing Dkt. 22-12 (TOS v.10) § 19.4      later. Opp'n at 3-4. This too is a question for the
and Dkt. 22-13 (TOS v.11) § 23.4). Ms. Jackson cannot          arbitrator. "Questions of procedural arbitrability" are
reasonably claim that she is not bound by either               "presumptively for the arbitrator." Las Vegas v. Mirage
agreement. There is no change to this Court's arbitration      Casino-Hotel, Inc., 911 F.3d 588, 596 (9th Cir. 2018).
analysis if v.10 applies or v.11 applies.                      Thus the "arbitrator should decide allegations of waiver,
                                                               delay, or a like defense to arbitrability." Howsam v.
The language in both TOS documents reads: "If there is         Dean Witter Reynolds, 537 U.S. 79, 84, 123 S. Ct. 588,
a dispute about whether this Arbitration Agreement can         154 L. Ed. 2d 491 (2002) (internal quotation marks
be enforced or applies to our Dispute, you and Airbnb          omitted). Many courts have distinguished this Supreme
agree that the arbitrator will decide that issue." See         Court precedent recognizing that allegations of delay or
TOS v.10 § 19.4; TOS v.11 § 23.4 (emphasis added).             waiver that occur after filing litigation concern litigation
This language clearly and unmistakably gives the               conduct and are, therefore, an issue for the courts.2 The
arbitrator authority over the threshold question of            allegations of delay and waiver here, however, are
arbitrability. Rent-A-Center, W., Inc. v. Jackson, 561         primarily based on Airbnb's attempts to engage in
U.S. 63, 69-70 n.1, 130 S. Ct. 2772, 177 L. Ed. 2d 403         settlement conversations prior to the filing of the suit
(2010) ("courts should not assume that the parties             and a failure to comply with the arbitration agreement
agreed to arbitrate arbitrability unless there is clear and    terms by failing to notify Ms. Jackson of an intent to
unmistakable evidence that they did so") (cleaned up).         arbitrate. Opp'n at 3-4. Those are arbitration procedure
                                                               questions reserved for [*12] the arbitrator.
The remaining [*10] arguments about arbitration are
questions for the arbitrator. Ms. Jackson argues that she      Airbnb's post-litigation conduct has not waived its right
is only                                                        to arbitrate. Waiver "is the intentional relinquishment or
     bound to arbitrate a claim arising out of, 'any use of
     the Airbnb Platform, Host Services, or any Content"
     thus the "plain language of the agreement renders
                                                               2 Courts interpreting Howsam find that post-litigation conduct
     the arbitration clause unenforceable as this case
                                                               waiver is still a question for the courts to decide. Sabatelli v.
     does not arise from Catherine Jackson's use of the
                                                               Baylor Scott & White Health, 832 Fed. Appx. 843, 848 (5th Cir.
     Airbnb Platform, Host Services, or any Content, it
                                                               2020) ("waiver of arbitration based on litigation conduct is an
     arises from the use of an unknown third person.
                                                               issue for the court, rather than the arbitrator, to decide.");
                                                               Ehleiter v. Grapetree Shores, Inc., 482 F.3d 207, 219, 48 V.I.
Opp'n at 2-3 (internal citations omitted). But this is
                                                               1034 (3d. Cir. 2007) (finding that Howsom "[p]roperly
clearly an arbitrability question. In Henry Schein, Inc.,
                                                               considered within the context of the entire opinion . . . was
the arbitration agreement applied to all disputes except       referring only to waiver, delay, or like defenses arising from
a select few such as actions concerning injunctive relief.     non-compliance with contractual conditions precedent to
139 S. Ct. at 528. The suit in question sought injunctive      arbitration, such as the NASD time limit rule at issue in that
relief in part and thus the parties disputed whether it fell   case, and not to claims of waiver based on active litigation in
within the arbitration agreement. The Court decided that       court. As the Appellate Division recognized, this latter type of
where arbitrability is delegated to the arbitrator "an         waiver implicates courts' authority to control judicial
arbitrator—not the court—ha[s] to decide whether the           procedures or to resolve issues . . . arising from judicial
arbitration agreement applied to th[e] particular dispute."    conduct."); Madorskaya v. Frontline Asset Strategies, LLC,
Id. Whether Ms. Jackson's claim is one that falls under        2021 U.S. Dist. LEXIS 164995, *35 n.9 (E.D.N.Y. Aug. 31,
                                                               2021) ("The Court is mindful that the Supreme Court has said,
the arbitration agreement is fundamentally an
                                                               in dicta, that 'the presumption is that the arbitrator should
arbitrability question and is left for an arbitrator to
                                                               decide allegations of waiver, delay, or a like defense to
decide. Shivkov v. Artex Risk Sols., Inc., 974 F.3d 1051,
                                                               arbitrability.' Howsam, 537 U.S. at 84. Yet, despite this
1065 (9th Cir. 2020) ("whether an arbitration clause in a      statement in Howsam, courts in this Circuit and elsewhere
concededly [*11] binding contract applies to a particular      have continued to decide waiver disputes, particularly those
type of controversy" is a "gateway question[] of               that—like here—involve allegations of waiver due to litigation
arbitrability") (internal quotation marks omitted).            conduct.") (cleaned up); Sheet Metal Workers Local No. 20
                                                               Welfare & Ben. Fund v. CVS Pharm., Inc., 540 F. Supp. 3d
Ms. Jackson also argues Airbnb waived arbitration              182, 193 (D.R.I. May 11, 2021) (finding the Supreme Court in
because Airbnb knew that Ms. Jackson intended to               Howsam did not "alter [the] traditional rule that courts
pursue legal action as early as September 21, 2021, but        presumptively decide issues of litigation-conduct waiver.");
did not seek to compel arbitration until eleven months         see, also, Tech. in P'ship v. Rudin, 538 Fed. Appx. 38, 39 (2d.
                                                               Cir. 2013).
               Case 3:21-cv-01674-MO                 Document 60-1      Filed 12/01/22        Page 6 of 11
                                                                                                            Page 5 of 10
                                              2022 U.S. Dist. LEXIS 202765, *12

abandonment of a known right"; a party "knowingly               "In a diversity case, the district court must apply the
relinquish[es] the right to arbitrate by acting                 choice-of-law rules of the state in which it sits." Coufal
inconsistently with that right." Morgan v. Sundance, Inc.,      Abogados v. AT&T, Inc., 223 F.3d 932, 934 (9th Cir.
142 S. Ct. 1708, 1713-14, 212 L. Ed. 2d 753 (2022)              2000). California applies the governmental interest
(internal quotation marks omitted). A "party acts               approach. The first step of this approach requires
inconsistently with exercising the right to arbitrate when      determining whether "the relevant law of each of the
it (1) makes an intentional decision not to move to             potentially affected jurisdictions with regard to the
compel arbitration and (2) actively litigates the merits of     particular issue in question is the same or different" from
a case for a prolonged period of time in order to take          California law. McCann v. Foster Wheeler LLC, 48 Cal.
advantage of being in court." Newirth v. Aegis Senior           4th 68, 87-88, 105 Cal. Rptr. 3d 378, 225 P.3d 516
Cmtys., LLC, 931 F.3d 935, 938 (9th Cir. 2019). Airbnb          (2010). "[I]f there is a difference, the court examines
filed this motion to compel approximately three months          each jurisdiction's interest in the application of its own
after Plaintiffs filed this lawsuit . Compl. at 18. Airbnb      law under the circumstances of [*14] the particular case
has not yet filed an answer. Airbnb's post-litigation           to determine whether a true conflict exists. Id. If a
conduct does not suggest that it intended to relinquish         conflict exists, then the court "compares the nature and
its right to arbitrate. Mitsubishi Motors Corp. v. Soler        strength of the interest of each jurisdiction" to determine
Chrysler-Plymouth, 473 U.S. 614, 626, 105 S. Ct. 3346,          which "state's interest would be more impaired if its
87 L. Ed. 2d 444 (1985) ("any doubts concerning the             policy were subordinated to the policy of the other
scope of arbitrable issues," including allegations of           state." Id.
waiver or delay should "be resolved in favor of
arbitration").                                                  The "burden rests on" the parties advocating another
                                                                state's law "to show why their forum states have an
Ms. Jackson also asks this Court to deny the requested          interest in applying their law in the case at bar." Certain
stay as a matter of public policy. Because there are            Underwriters at Lloyd's v. Expeditors Int'l of Washington,
multiple claims by multiple plaintiffs, and the actions are     Inc., 584 F. Supp. 3d 860, 876 (C.D. Cal. 2022). And if
occurring in different courts, Ms. Jackson [*13] argues         "the foreign law proponent fails to identify any actual
that compelling arbitration could result in further differing   conflict or to establish the other state's interest in having
outcomes and would not be in the interest of judicial           its own law applied, then the Court may properly find
economy. These public policy arguments are                      California law applicable without analyzing comparative
unpersuasive. There is a "national policy favoring              impairment." Id. (internal quotation marks omitted).
arbitration" that the Court finds persuasive. Buckeye           Here, while the events happened in Florida, both parties
Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 443,             apply California law. Neither has argued that Florida law
126 S. Ct. 1204, 163 L. Ed. 2d 1038 (2006).                     applies or that there is a conflict between California law
                                                                and Florida law. There is no need for the Court to
Airbnb's motion to stay Ms. Jackson's claims and                perform a comparative analysis, California law applies.
compel arbitration is GRANTED.                                  Washington Mut. Bank, FA v. Superior Ct., 24 Cal. 4th
                                                                906, 919, 103 Cal. Rptr. 2d 320, 15 P.3d 1071 (2001).

C. Motion to Dismiss
                                                                2. Negligence
The remaining Plaintiffs3 fail to allege facts to support
their negligence, gross negligence, and products liability      "In order to establish liability on a negligence theory, a
claims against Airbnb. Somers v. Apple, Inc., 729 F.3d          plaintiff must prove duty, breach, causation, and
953, 959 (9th Cir. 2013) ("Dismissal under Rule 12(b)(6)        damages." Conroy v. Regents of Univ. of Cal., 45 Cal.
is proper when the complaint . . . fails to allege sufficient   4th 1244, 1250, 91 Cal. Rptr. 3d 532, 203 P.3d 1127
facts to support a cognizable legal theory") (internal          (2009). Airbnb argues that the Plaintiffs [*15] have
citation omitted).                                              failed to allege that Airbnb owed a duty and failed to
                                                                allege causation. The Court agrees. The negligence
                                                                claim is dismissed. And because "California does not
1. Choice of Law                                                recognize a distinct common law cause of action for
                                                                gross negligence apart from negligence," the gross
                                                                negligence claim fails as well. Jimenez v. 24 Hour
3 All future references to Plaintiffs exclude Ms. Jackson.      Fitness USA, Inc., 237 Cal. App. 4th 546, n.3, 188 Cal.
              Case 3:21-cv-01674-MO               Document 60-1           Filed 12/01/22        Page 7 of 11
                                                                                                              Page 6 of 10
                                            2022 U.S. Dist. LEXIS 202765, *15

Rptr. 3d 228 (2015).                                                  breach, and the availability, cost, and prevalence of
                                                                      insurance for the risk involved.
"Duty is not universal; not every defendant owes every
plaintiff a duty of care. A duty exists only if the plaintiff's   Id. (citing Rowland, 69 Cal. 2d at 112-13). Plaintiffs'
interests are entitled to legal protection against the            arguments fail at both steps. No exception applies here,
defendant's conduct. . . . A duty of care may arise               and the Rowland factors preclude the finding of a duty.
through statute or by operation of the common law."
Sheen v. Wells Fargo Bank, N.A., 12 Cal. 5th 905, 920,            "A special relationship between the defendant and the
290 Cal. Rptr. 3d 834, 505 P.3d 625 (2022) (internal              victim is one that gives the victim a right to expect
quotation marks omitted). Under California law,                   protection from the defendant while a special
"[e]veryone is responsible, not only for the result of his        relationship between the defendant and the dangerous
or her willful acts, but also for an injury occasioned to         third party is one that "entails an ability to control the
another by his or her want of ordinary care or skill in the       third party's conduct." Brown, 11 Cal. 5th at 216
management of his or her property or person." Cal. Civ.           (internal quotation marks omitted). The existence of a
Code § 1714. But "it also is well established that, as a          special relationship with the perpetrator or victim "puts
general matter, there is no duty to act to protect others         the defendant in a unique position to protect the plaintiff
from the conduct of third parties." Delgado v. Trax Bar &         from injury. The law requires the defendant to use this
Grill, 36 Cal. 4th 224, 235, 30 Cal. Rptr. 3d 145, 113            position accordingly." Id. Classic examples of this
P.3d 1159 (2005). Here Michael McGowan, not Airbnb,               relationship include parent to child, employer to
pulled the trigger. Airbnb had no duty to protect                 employee, landlord to invitee, and common carrier to
Decedent from Mr. McGowan's malfeasance.                          passenger. Where the defendant has neither performed
                                                                  an act that increases the risk of injury to the plaintiff nor
There are common law doctrines, however, that may                 sits in a relation to the parties" California courts "have
hold a party liable for [*16] the conduct of a third party.       uniformly held the defendant owes no legal duty to the
For example, an affirmative duty to protect against third-        plaintiff." [*18] Id.
party conduct may arise where a party comes to the aid
of another or where there is a special relationship.              A special relationship may exist where the accused
Brown v. USA Taekwondo, 11 Cal. 5th 204, 216, 276                 tortfeasor exercises control over a piece of land such
Cal. Rptr. 3d 434, 483 P.3d 159 (2021). The California            that he is akin to a landowner. Landowners owe a
Supreme Court has established a two-step analysis to              special duty to invitees on their land. Airbnb does not
determine if one of these exceptions applies. First, there        exercise sufficient control over the subject property to
must be an exception to the no-duty-to-protect rule.              support finding a special relationship here. Control over
Second, if an exception is found, the court then weighs           a property creates a duty where there is a "power to
the Rowland factors to see if a duty should be imposed.           prevent, remedy or guard against the dangerous
Id. at 212-13; see Rowland v. Christian, 69 Cal. 2d 108,          condition," which courts often construe as an ability to
70 Cal. Rptr. 97, 443 P.2d 561 (1968)). The Rowland               enact physical changes on a property. Colonial Van &
factors are "a means for deciding whether to limit a duty         Storage, Inc. v. Superior Court, 76 Cal. App. 5th 487,
derived from other sources." Brown, 11 Cal. 5th at 217.           498, 291 Cal. Rptr. 3d 581 (2022). "[D]eriving a
Put differently, the special relationship and negligent           commercial benefit [is] not the dispositive factor relating
undertaking are exceptions that allow for a finding of            to the issue of defendant's control" of land. Id. at 499
duty where third party misfeasance would otherwise                (internal citation omitted). Setting policies and providing
preclude one. Both exceptions are expansions of duty              a security patrol is not sufficient control to create a duty.
rules and must, in each case, pass muster under                   Univ. of So. Cal. v. Superior Court, 30 Cal. App. 5th
Rowland in order to apply. The Rowland test balances              429, 449, 241 Cal. Rptr. 3d 616 (2018), overruled on
the following policy considerations:                              other grounds by Brown, 11 Cal. 5th at 212. And merely
                                                                  hosting the opportunity for the misconduct on one's land
     the plaintiff suffered injury, the closeness of the          does not create a special relationship. As California
     connection between the defendant's conduct and               courts have found, "there are 'many commonplace
     the injury suffered, the moral blame attached to the         commercial activities' that provide an opportunity for,
     defendant's conduct, the policy of preventing future         and thus theoretically increase the risk of, criminal
     harm, the extent of the burden to the defendant and          conduct by third parties." Doe No. 1 v. Uber Techs., Inc.,
     consequences to the [*17] community of imposing              79 Cal. App. 5th 410, 428, 294 Cal. Rptr. 3d 664 (2022)
     a duty to exercise care with resulting liability for         (citing Sakiyama v. AMF Bowling Centers, Inc., 110 Cal.
             Case 3:21-cv-01674-MO            Document 60-1          Filed 12/01/22       Page 8 of 11
                                                                                                         Page 7 of 10
                                         2022 U.S. Dist. LEXIS 202765, *18

App. 4th 398, 409, 1 Cal. Rptr. 3d 762 (2003)).              did not "own[] or manage[] any of the rental properties
                                                             advertised on its online platform." Id.
    Countless bars and restaurants, for example, are
    open late and provide patrons [*19] with the             There was also no negligent undertaking. [*21] "To
    opportunity to drink alcohol, become intoxicated,        establish a duty of care to [Decedent] based on the
    and then drive. Rock concerts are advertised to and      negligent undertaking doctrine," Plaintiffs must first
    attended by teenagers who thereafter drive home,         show that Airbnb "undertook to render services" to
    sometimes under the influence of alcohol and/or          Decedent and that those "services were of the kind
    drugs. Annual New Year's Eve parties routinely are       [Airbnb] should have recognized as necessary for the
    celebrated until early morning hours, with               protection of third persons." Barenborg v. Sigma Alpha
    partygoers driving home either impaired or               Epsilon Fraternity, 33 Cal. App. 5th 70, 83-84, 244 Cal.
    extremely fatigued. All-night parties, complete with     Rptr. 3d 680 (2019). Plaintiffs must then show that
    a variety of alcoholic beverages, are an                 Airbnb's failure to exercise reasonable care in the
    inescapable aspect of college life. Courts have          undertaking either "increased the risk of harm beyond
    refused to hold business owners and hosts in these       what existed without the undertaking," or that others
    situations liable for negligence.                        would have taken on the undertaking or stepped in, but
                                                             relied instead on Airbnb. Id. The Plaintiffs have not
Sakiyama, 110 Cal. App. 4th at 409 (collecting cases).       plausibly alleged a negligent undertaking. They claim
In "cases against youth organizations that negligently       that Airbnb "undertook measures to protect guests and
provide the opportunity for an adult to molest a child,      third parties from crime" by "prohibiting partying,
courts have analyzed the organization's liability for        retain[ing] the right to conduct investigations and
resulting harm under a paradigm of nonfeasance (failure      terminate listings," reviewing "what the host posted and
to protect) and special relationships." Uber Techs., Inc.,   edit[ing] the listing," and "require[ing] local compliance
79 Cal. App. 5th at 428. In sum, that an organization or     with law and ordinances." Opp'n at 15. But it is not clear
business "creates an opportunity for criminal conduct        that any of these actions were done negligently. For
against a plaintiff and thereby worsens the plaintiff's      example, Plaintiffs do not suggest that incorrect
position does not render such criminal conduct a             information was posted thereby increasing the risk of
necessary component of the organization's actions—           danger. Plaintiffs instead seem to suggest that this
even when that conduct is foreseeable. Providing such        undertaking [*22] was negligent because Airbnb did not
an opportunity does not constitute misfeasance               do more. Id. But the "scope of any duty assumed
triggering [*20] a duty to protect." Id. at 428-29.          depends upon the nature of the undertaking. . . . For
                                                             example, merely because a supermarket chooses to
The Complaint has not alleged sufficient facts to support    have a security program that includes a roving security
that there was a special relationship — either between       guard does not signify that the proprietor has assumed
Airbnb and Decedent or between Airbnb and McGowan.           a duty to protect invitees from third party violence." Id.
At most, there are claims that Airbnb provides a platform    (internal quotation marks omitted). None of Airbnb's
for renting and sets policies for rentals. Compl. ¶ 13.      actions increased risk, nor did they stop others from
This is insufficient. There is one naked allegation that     stepping in. The facts alleged do not support that Airbnb
Airbnb "owed decedent several duties to decedent as an       saw a risk, stepped in, and, in doing so, increased the
operator/manager of the subject property." Id. ¶ 30. But     risk of harm.
there are no allegations fleshing out Airbnb's
"operator/manager" role that would plausibly allege          Even if there were some exception to the limitations on
Airbnb exerted control over the subject property such        duty that applied here, the Rowland factors do not
that a special relationship exists. Esposito v. Airbnb       support a finding of duty. Specially, (1) the foreseeability
Action, LLC, No. 5:20-CV-5204, 2022 U.S. Dist. LEXIS         of the crime was low, (2) the connection between
133561, 2022 WL 2980700, at *5 (W.D. Ark. July 27,           Airbnb's conduct, and the injury is virtually nonexistent,
2022), although applying Arkansas law, is instructive.       and (3) the burden of preventing this sort of incident in
The case involved a lawsuit against Airbnb for a             the future is high. Brown, 11 Cal. 5th at 217 (citing
burglary and assault that took place on an Airbnb            Rowland, 69 Cal. 2d at 112-13).
property. The plaintiffs argued that there was a special
relationship akin to a "innkeeper/guest or business          This crime was not reasonably foreseeable. The
owner/invitee." Id. But the court found neither analogy      remaining Plaintiffs claim that Airbnb is "abundantly
convincing because Airbnb did not control the land and       aware of the incessant criminal activity taking place in
             Case 3:21-cv-01674-MO              Document 60-1          Filed 12/01/22       Page 9 of 11
                                                                                                           Page 8 of 10
                                          2022 U.S. Dist. LEXIS 202765, *22

all areas of its operations" and that "[c]rime is so           things that are already illegal. Airbnb is not responsible
foreseeable at AIRBNB properties that it [*23] pays an         for not outlawing illegal conduct. Airbnb is responsible
'elite trust-and-safety team' to cover up the crimes."         only if it encourages it. Sakiyama, 110 Cal. App. 4th at
Compl. ¶ 23. To support the claims that crime is               408 ("Unlike the radio contest, in which hazardous
foreseeable and frequent, the Complaint points to two          driving by teenagers was a necessary component of the
past crimes at Airbnb properties, one in 2015 in               game, the rave party was simply a party attended by
California and one at some other point in New York.            teenagers. While drugs may have been anticipated, the
Compl. ¶¶ 19-20. Per Plaintiff's request, this Court has       teenagers did not need to use drugs to attend the party.
also taken judicial notice of the record of police calls       AMF did not promote drug use," therefore "AMF had no
concerning the subject property. This call log shows that      such direct link to the unfortunate accident in this case").
there was a call concerning burglary at the property in        The Complaint also alleges that Airbnb should have
2018, a disturbance call in 2019, and a conduct call five      made rules or encouraged landowners to make rules
days before Decedent's death. Dkt. 28-3.                       preventing minors from being on the property
                                                               unsupervised. Compl. ¶¶ 34-36. The connection
None of this makes Decedent's death foreseeable. "[I]t         between unsupervised minors and the events that
is difficult if not impossible in today's society to predict   occurred is tangential at best. The Complaint does not
when a criminal might strike." Wiener v. Southcoast            plausibly allege that Airbnb's alleged failures contributed
Childcare Centers, Inc., 32 Cal. 4th 1138, 1150, 12 Cal.       to Decedent's death.
Rptr. 3d 615, 88 P.3d 517 (2004). Plaintiffs have not
alleged any connection to these other crimes—i.e., they        "Foreseeability is balanced against the burden of the
have not alleged that the other Airbnb crimes resulted         duty to be imposed. Where the burden of prevention is
because of a similar policy issue or that the burglary on      great, a high degree of foreseeability is usually
the property revealed security flaws that contributed to       required." Melton v. Boustred, 183 Cal. App. 4th 521,
Decedent's death. These other incidents also occurred          532, 107 Cal. Rptr. 3d 481 (2010) (internal quotation
years earlier than Decedent's death. It would have taken       marks omitted). The burden that Plaintiffs want to place
something near the level of psychic powers to foresee          on Airbnb is great. For example, Plaintiffs state that
the May 18, 2020, events at the subject property [*24]         Airbnb [*26] should "ensure persons do not bring guns
even with knowledge of these other crimes. See                 and weapons onto subject premises" and should
Jefferson v. Qwik Korner Market, Inc., 28 Cal. App. 4th        "prevent criminal activity" on Airbnb properties. Compl ¶
990, 996, 34 Cal. Rptr. 2d 171 (1994) ("on a clear             31. But the foreseeability of teenagers mishandling a
judicial day, you can foresee forever" but if "the law         firearm at the subject property was low. Plaintiffs have
imposed a duty to protect against every conceivable            not pointed to a similar incident or issue at the subject
harm, nothing could function"). The facts pleaded simply       property—or any Airbnb property. And the California
do not support the conclusion that Decedent's death            Supreme Court has found that "the burden of requiring a
was foreseeable.                                               landlord to protect against crime everywhere has been
                                                               considered too great in comparison with the
Additionally, there is no meaningful connection between        foreseeability of crime occurring at a particular location
the alleged failures of Airbnb and the incident at the         to justify imposing an omnibus duty on landowners to
subject property. Most of the allegations of Airbnb's          control crime." Wiener, 32 Cal. 4th at 1150 (internal
failures are conclusory claims that the app is                 quotation marks omitted) (finding pre-meditated murder
"negligently designed" and that Airbnb took no                 committed by driving into children at a pre-school was
"reasonable safety measures." See, e.g., Compl. ¶¶ 26-         not foreseeable because there had been no similar prior
29. Where the Complaint provides specific allegations of       incidents, rejecting the lower court's reasoning that it
Airbnb's failures, the failures are unrelated to the           was foreseeable because there had been a prior traffic
tragedy at issue. For example, Plaintiffs state Airbnb         accident where a car also drove onto the property, and
failed to require renters to provide photo identification,     finding the landlord owed no duty "to create a fortress to
but the Complaint never specifies who rented the               protect the children"); see also Melton,183 Cal. App. 4th
subject property or that such a policy would have had          at 529-32 (finding that a homeowner was not
any impact on the situation. Compl. ¶ 32. Plaintiffs also      responsible for an assault on his property after he sent
allege that Airbnb was negligent by not requiring owners       out an open invitation to [*27] his house on MySpace
to promulgate rules "prohibiting the consumption of            because the foreseeability was minimal but the burden
drugs" or "prohibiting the consumption of alcohol by           to prevent the assault would have been high).
minors" on the property. Compl. ¶ 34. These are [*25]
             Case 3:21-cv-01674-MO              Document 60-1           Filed 12/01/22        Page 10 of 11
                                                                                                              Page 9 of 10
                                           2022 U.S. Dist. LEXIS 202765, *27

Salomes Monik Rengifo Jackson, Jonathan Christian               refrain from deciding an issue that the district court has
Rengifo Jackson, and Antistenes Rengifo Estupnian's             not had the opportunity to evaluate." Id. at 1095 (internal
claims of negligence and gross negligence are                   quotation marks omitted). On remand, the lower court
DISMISSED with leave to amend.                                  analyzed negligence claims that were based on the
                                                                design. The analysis was an ordinary [*29] negligence
                                                                analysis, not a products liability analysis. Lemmon v.
3. Products Liability                                           Snap, Inc., No. CV 19-4504-MWF (KSX), 2022 U.S.
                                                                Dist. LEXIS 83399, 2022 WL 1407936, at *5 (C.D. Cal.
Airbnb disputes the products liability claims because           Mar. 31, 2022) (denying a motion to dismiss the
Airbnb is "a marketplace" and not a product. Mot. at 18.        negligent design theories because the court "previously
The Court agrees. A "products liability claimant must           determined that Plaintiffs have sufficiently alleged a
meet a condition precedent to successfully maintain the         duty," and the court was satisfied the "allegations,
action. He or she must show that the object or                  accepted as true, are sufficient to allege causation").
instrumentality claimed to be defective was in fact a
'product' as defined or contemplated by the                     The second case the remaining Plaintiffs rely on is
Restatement of Torts, legislation or case law." Brooks v.       equally unpersuasive. In Bolger v. Amazon.com, LLC,
Eugene Burger Management Corp., 215 Cal. App. 3d                53 Cal. App. 5th 431, 440, 267 Cal. Rptr. 3d 601 (2020),
1611, 1626, 264 Cal. Rptr. 756 (1989). "A product is            the court found that even though Amazon was not "the
tangible personal property distributed commercially for         seller of the replacement battery," its involvement in
use or consumption . . . . Services, even when provided         shipping, marketing, producing, and ensuring the safety
commercially, are not products." Restatement (Third) of         of the product made it akin to a retailer and it was still
Torts, Products Liability, § 19 (Am. L. Inst. 1998). The        responsible when the end product was not safe. There
California Supreme Court has echoed the Restatement             was still a tangible product for which there was liability.
and has found that "strict products liability law does not      Here Plaintiffs "are not seeking to hold Defendant liable
apply to services" and "those who sell services [are] not       solely based on the 'house' as the end product but are
liable in absence of negligence or intentional                  pursuing a negligent design theory based on the design
misconduct." Jimenez v. Superior Court, 29 Cal. 4th             of the platform itself." Opp'n at 18. There are no
473, 479, 127 Cal. Rptr. 2d 614, 58 P.3d 450 (2002)             allegations in the complaint that there was an issue with
(internal    quotation     marks       omitted)   (emphasis     the house itself—only allegations that the service or
added) [*28] ("law of negligence, not strict liability,         platform was negligently designed. Bolger is not
governs services . . . ."); Merrill v. Navegar, Inc., 26 Cal.   analogous.
4th 465, 470, 110 Cal. Rptr. 2d 370, 28 P.3d 116 (2001)
(the purpose of products liability is to hold liable "those     The remaining Plaintiffs' product liability claim is
who supply goods or products for the use of others to           DISMISSED without prejudice.
purchasers, users, and bystanders for losses resulting
                                                                ***
from defects in those products"). Airbnb is a platform
that connects users; it is more akin to a service than to a
                                                                For the [*30] foregoing reasons, Airbnb's motion to stay
product. Jane Doe No. 1 v. Uber Technologies, Inc., 79
                                                                Ms. Jackson's case and compel arbitration is
Cal. App. 5th 410, 419, 294 Cal. Rptr. 3d 664 (2022)
                                                                GRANTED. Airbnb's request to dismiss the negligence
("the court concluded the Uber app was not a product,
                                                                and product liability claims of Salomes Monik Rengifo
and thus a products liability theory of recovery was not
                                                                Jackson and Jonathan Christian Rengifo Jackson as
legally viable.").
                                                                representatives of the decedent's estate and Antistenes
                                                                Rengifo Estupnian is GRANTED.4 They are granted
The cases cited by Plaintiffs are not persuasive.
                                                                leave to amend the Complaint in conformity with this
Plaintiffs first argue that the Ninth Circuit recognized a
                                                                Order if they can do so consistent with Rule 11 of the
products liability claim in Lemmon v. Snap, 995 F.3d
                                                                Federal Rules of Civil Procedure. An amended
1085 (9th Cir. 2021). But there the circuit addressed
only whether Snap was immune to liability under the
Communications Decency Act, 47 U.S.C. § 230(c)(1).              4 Because  all claims of the remaining Plaintiffs have been
Id. at 1087. The circuit declined to address whether
                                                                dismissed, the Court declines to address at this time causation
there was a failure to plead a negligent design claim,
                                                                issues with the claims, the request to strike punitive damages,
stating that "the district court dismissed the Parents'         or the request to stay the case until the completion of other
amended complaint based entirely on the CDA, and we             proceedings.
            Case 3:21-cv-01674-MO            Document 60-1      Filed 12/01/22   Page 11 of 11
                                                                                          Page 10 of 10
                                        2022 U.S. Dist. LEXIS 202765, *30

complaint may be filed and served no later than
December 6, 2022. Failure to file an amended complaint
by that date will waive their right to do so and the
Complaint will be dismissed with prejudice as to them. If
they choose to file an amended complaint, they should
carefully consider the other issues raised by Airbnb's
motion and amend their claims where appropriate.
Plaintiffs must provide a redlined version of the
amended complaint to the Court's generic chambers
email.

IT IS SO ORDERED.

Date: November 4, 2022

/s/ Dale S. Fischer

Dale S. Fischer

United States District Judge


  End of Document
